            Case 19-20772       Doc 22       Filed 08/28/19 Entered 08/28/19 11:31:22                   Desc Main
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
In re: Mark P Andrews                                          )        Case no. 19-20772
        Sueann Andrews                                         )
                                                                        Chapter 13
                                                               )
                                              Debtors          )        Judge: Pamela S. Hollis
                                                               )
                              NOTICE OF MOTION AND CERTIFICATE OF SERVICE

     Mark P Andrews                                                                 David M Siegel
     Sueann Andrews                                                                 790 Chaddick Dr
     1312 Elizabeth St.                                                             Wheeling,IL 60090
     Apt. 1
     Joliet, IL 60435

    Please take notice that on Friday, September 6, 2019 at 10:30 am, a representative of this office shall appear before the
    Honorable Judge Pamela S. Hollis at the Joliet City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, IL 60432 and
    present the motion set forth below. Your rights may be affected. You should read these papers carefully and
    discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
    may wish to consult one.)

    I certify that this office caused a copy of this notice to be delivered to the above listed debtors by depositing it in the
    U.S. Mail at 801 Warrenville Road, Lisle, IL and to the debtor's attorney electronically via the Court's CM/ECF system
    on Wednesday, August 28, 2019.
                                                                           /s/ Heather Barnette

                                                                           For: Glenn Stearns, Trustee


                                 OBJECTION TO DISCHARGE UNDER § 1328 (f)


    Now comes Glenn Stearns, Chapter 13 Trustee, and requests that the discharge of the above referenced Debtors be
    denied and in support thereof, states the following:
       1.    On July 24, 2019, the debtors filed a petition under Chapter 13.
       2.    The Debtors received a Chapter 7 discharge in Case Number 16-04935 filed on May 23, 2016
       3.    The Debtors Are not entitled to a discharge under § 1328(f) because the Debtors received a Chapter 7 discharge
             in a case filed within 4 years of the filing of the present case..


    WHEREFORE, the Trustee prays that the discharge for the above referenced debtors be denied.


                                                                            Respectfully Submitted;

                                                                            /s/ Gerald Mylander

    Glenn Stearns, Trustee                                                  For: Glenn Stearns, Trustee
    801 Warrenville Road, Suite 650
    Lisle, IL 60532-4350
    Ph: (630) 981-3888
